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Attorneys for Plaintiffs

                       IN THE UNITED STATES DISTRICT COURT

                              FOR THE DISTRICT OF ALASKA

JUSTIN ACKER, EMILY ACKER,         )
E.A. (2019), I.A. (2020),          )
JOHN DOE, JANE DOE,                )
JOHN DOE JR. (2020), AND           )
JANE DOE JR. (2016),               )
                                   )
          Plaintiffs,              )
     v.                            )
                                   )
PROVIDENCE HEALTH & SERVICES       )
WASHINGTON d/b/a PROVIDENCE        )
ALASKA MEDICAL CENTER,             )
BARBARA KNOX, MD,                  )
AND BRYANT SKINNER,                )
                                   )
          Defendant.               )
___________________________________) Case No.: 4:22-cv-00017-HRH


                                        COMPLAINT
                            (Seeking relief under 42 U.S. § 1983)

                                PARTIES AND JURISDICTION

        1.      Plaintiffs, Justin and Emily Acker, are Alaskans and live in Fairbanks.

They are bringing claims on their own behalf and on behalf of their minor children,

E.A. (2019) and I.A. (2020).

        2.      Plaintiffs, John and Jane Doe, are Alaskans and live in Sitka. They

are bringing claims on their own behalf and on behalf of their minor children, John
COMPLAINT
Acker, et al. v. Providence, et al., 4:22-cv-00017-HRH
Page 1 of 16
          Case 4:22-cv-00017-SLG Document 1 Filed 07/11/22 Page 1 of 16
Doe Jr. (2020) and Jane Doe Jr. (2016).1

        3.      Defendant, Providence Health & Services Washington, d/b/a

Providence Alaska Medical Center (“Providence”), owns a child advocacy center,

Alaska CARES (AC), located on its campus in Anchorage.

        4.      Knox was employed by Providence.

        5.      Skinner was employed by Providence.

        6.      Skinner, as director of forensic services, was Knox’s supervisor.

        7.      Providence and AC are used interchangeably in this complaint

because they are not separate legal entities and Providence owns AC.

        8.      Providence is legally and financially responsible for the actions of AC

and any employee of Providence or AC, under respondeat superior.

        9.      Providence is legally and financially responsible for the actions of AC

and any employee of Providence or AC under Aided in Agency.

        10.     At all times relevant to the events described below, AC was acting as

a division of The State of Alaska DHSS, Office of Children’s Services (OCS).

        11.     AC makes diagnoses of child abuse for OCS.

        12.     AC consults with OCS regarding: Child in Need Aid cases (CINA).

        13.     AC provides expert testimony for OCS in CINA cases.

        14.     The State finances AC.


1
 The Doe family is bringing this claim under pseudonyms to protect their privacy.
Their true names are being provided to the defendant and the court as a confidential
exhibit to this complaint. Their true names should not be used in the public file.
COMPLAINT
Acker, et al. v. Providence, et al., 4:22-cv-00017-HRH
Page 2 of 16
          Case 4:22-cv-00017-SLG Document 1 Filed 07/11/22 Page 2 of 16
        15.     The State paid for the construction of AC.

        16.     The State funds at least a portion of the operating expenses of AC.

        17.     The State funded some or all of Knox’s salary.

        18.     The State paid Knox hourly for her work on CINA cases.

        19.     Knox has a contract with the State of Alaska.

        20.     That contract provided financial incentives for Knox and/or AC to

make child abuse diagnoses.

        21.     AC has a contract with the State of Alaska.

        22.     That contract provided financial incentives for AC to produce a high

number of child abuse diagnoses.

        23.     At all times relevant to the event described below, Barbara Knox, MD

(Knox) was a licensed medical physician in the State of Alaska, and was an

employee, agent, or apparent agent of AC.

        24.     Defendants Knox, Skinner and Providence are hereinafter collectively

referred to as the “Defendants.” At all times relevant to the events described below,

each of the Defendants acted under color of state law.

        25.     Knox acted in the scope and course of her employment with AC.

        26.     Knox bullied other staff members.

        27.     Knox pressured other staff members to agree with her false

diagnoses.

        28.     Knox was the subject of complaints by other AC Staff.


COMPLAINT
Acker, et al. v. Providence, et al., 4:22-cv-00017-HRH
Page 3 of 16
          Case 4:22-cv-00017-SLG Document 1 Filed 07/11/22 Page 3 of 16
        29.     AC negligently investigated those complaints.

        30.     Skinner negligently supervised Knox.

        31.     Skinner conspired with Knox to perpetuate false child abuse

allegations.

        32.     AC staff quit because of Knox, and because of Providence’s negligent

investigation of staff complaints about Knox

        33.     AC has reached settlement agreements with staff who quit because

of Knox.

        34.     AC has secured nondisclosure agreements with staff who quit

because of Knox.

        35.     Knox bullied AC staff.

        36.     Knox voluntarily resigned from AC.

        37.     At the time of Knox’s resignation, AC supported all of the child abuse

diagnoses she made at AC.

        38.     Knox was pressured to resign.

        39.     AC entered into a severance agreement with Knox.

        40.     AC knew that Knox had misdiagnosed child abuse while employed at

AC.

        41.     AC and/or Skinner conspired to conceal misdiagnoses by Knox.

        42.     AC has not reported Knox’s pattern of misdiagnoses to the Alaska

Medical Board.


COMPLAINT
Acker, et al. v. Providence, et al., 4:22-cv-00017-HRH
Page 4 of 16
          Case 4:22-cv-00017-SLG Document 1 Filed 07/11/22 Page 4 of 16
        43.     Before Knox resigned, AC and/or Skinner believed she had

misrepresented the circumstances of her separation from the University of

Wisconsin.

        44.     AC has not reported Knox to the National Practitioner Data Bank.

        45.     AC conducted a review of Knox’s work and determined that some of

her child abuse diagnoses failed to meet the standard of care.

        46.     Knox did not comply with the applicable standard of care.

        47.     Knox negligently conducted, or failed to conduct, a differential

diagnosis when diagnosing child abuse by the Plaintiff parents against their

Plaintiff children.

        48.     All relevant events occurred in Alaska.

        49.     Plaintiffs bring this action pursuant to 42 U.S.C. § 1983 and Alaska

law to hold Defendants accountable for their misconduct and for violating Plaintiffs’

constitutional rights, to redress the loss caused to Plaintiffs and their families by

Defendants’ outrageous and inexcusable conduct, and to shine a light on these

events to ensure the necessary changes are made so that no future family has to

suffer the same pain and anguish Plaintiffs have suffered as a result of Defendants’

misconduct.

        50.     This Court has jurisdiction of this action pursuant to 28 U.S.C. §§

1331, 1332, and 1367.




COMPLAINT
Acker, et al. v. Providence, et al., 4:22-cv-00017-HRH
Page 5 of 16
          Case 4:22-cv-00017-SLG Document 1 Filed 07/11/22 Page 5 of 16
        51.     Under 28 U.S.C. § 1391(b), venue in Fairbanks, Alaska is proper

because the Ackers live there and harm was suffered in Fairbanks. On information

and belief, at least one Defendant resides in the District of Alaska and the events

giving rise to the claims asserted here all occurred within this district.

                                                FACTS

        52.     In 2006 the University of Wisconsin hired Dr. Barbara Knox as the

medical director of the American Family Children’s Hospital.

        53.     Knox repeatedly made false accusations of child abuse while she was

employed by the University of Wisconsin.

        54.     As a result of Knox’s false allegations in Wisconsin, dozens of

innocent parents lost custody of their children.

        55.     As a result of Knox’s false allegations in Wisconsin, innocent people

were convicted of crimes and sentenced to prison.

        56.     The University of Wisconsin placed Knox on administrative leave in

2019.

        57.     Later in 2019, Providence negligently vetted Knox’s history before

hiring her as the medical director of AC.

        58.     Providence failed to further investigate the reports about Knox when

she worked for the University of Wisconsin.

        59.     After hiring her, Providence failed to supervise Knox.

        60.     Providence negligently failed to review Knox’s work.


COMPLAINT
Acker, et al. v. Providence, et al., 4:22-cv-00017-HRH
Page 6 of 16
          Case 4:22-cv-00017-SLG Document 1 Filed 07/11/22 Page 6 of 16
         61.    Providence violated its policies with regard to reviewing Knox’s work.

         62.    Knox’s position with Providence made her responsible for doing

forensic assessments and diagnosing whether children had been abused.

         63.    Alaskan law enforcement agencies rely on assessments and

diagnoses from AC when deciding whether to file criminal complaints against

parents for the heinous crime of abusing their own children.

         64.    The Office of Children’s Services relies on assessments and

diagnoses from AC when deciding whether to take custody of children from their

parents.

         65.    Providence had an economic incentive to falsely diagnose child

abuse.

         66.    Knox’s history of false allegations of abuse in Wisconsin was widely

reported in the press during the same general time period when Providence hired

Knox.

         67.    Providence sent an email to more than 75 people including law

enforcement and Providence staff refuting the news reports about Knox’s history

in Wisconsin and supporting Knox.

         68.    Providence continues to stand behind (support what was said) the

email.

         69.    Providence does not stand behind that email.




COMPLAINT
Acker, et al. v. Providence, et al., 4:22-cv-00017-HRH
Page 7 of 16
          Case 4:22-cv-00017-SLG Document 1 Filed 07/11/22 Page 7 of 16
        70.     Providence received dozens of complaints from Providence

employees that Knox was falsely accusing parents of child abuse and bullying

subordinate employees.

        71.     All six members of the medical staff at AC either quit or had their

position eliminated as a result of the issues surrounding Knox.

        72.     The Due Process Clause of the Fourteenth Amendment protects the

fundamental right of parents to direct the care, upbringing, and education of their

children.

        73.     Emily Acker had a difficult pregnancy with her daughter I.A.

        74.     I.A. was injured during an emergency cesarean section delivery.

        75.     Approximately three weeks after I.A. was born, in January of 2021,

Knox falsely accused the Ackers of abusing I.A. based on injuries that had actually

occurred during childbirth.

        76.     Defendant Knox conducted an inappropriate, incomplete and deeply

flawed examination of I.A., including through her failure to take any steps to obtain

a complete and accurate patient history, which violates standard medical practice,

hospital policies and procedures, and clinical practice guidelines.

        77.     Knox’s work involving the plaintiffs violated the applicable standard of

care.

        78.     Knox’s false accusation caused the Ackers to lose custody of I.A. and

their other child, E.A., for more than 11 months.


COMPLAINT
Acker, et al. v. Providence, et al., 4:22-cv-00017-HRH
Page 8 of 16
          Case 4:22-cv-00017-SLG Document 1 Filed 07/11/22 Page 8 of 16
        79.     Making recklessly false accusations of child abuse made against a

parent is defamatory per se.

        80.     As a result of Knox’s false accusations, the Ackers suffered economic

damages and non-economic damages including loss of consortium.

        81.     At no point during the entirety of their care for either of their children,

have Plaintiffs ever done anything to abuse, intentionally harm, or intentionally

subject to a risk of harm any child in their care.

        82.     Providence defamed Justin and Emily Acker. This defamation caused

them damages.

        83.     As a result of Knox’s false accusations, the Ackers suffered economic

damages and non-economic damages including loss of consortium.

        84.     Jane Doe had a difficult pregnancy with her son, John Jr.

        85.     John Jr. has on-going health issues that were caused by the difficult

pregnancy.

        86.     In March of 2021, Knox falsely accused the Does of abusing John Jr.

based on injuries that were actually caused by the difficult pregnancy.

        87.     Defendant Knox conducted an inappropriate, incomplete, and deeply

flawed examination of John Jr., including through her failure to take any steps to

obtain a complete and accurate patient history, which violates standard medical

practice, hospital policies and procedures, and clinical practice guidelines.




COMPLAINT
Acker, et al. v. Providence, et al., 4:22-cv-00017-HRH
Page 9 of 16
          Case 4:22-cv-00017-SLG Document 1 Filed 07/11/22 Page 9 of 16
        88.     As a result of Knox’s false accusations, the Does lost custody of both

their children for more than 5 months.

        89.     As a result of Knox’s false accusations John Doe was charged with

Assault in the Second Degree, a felony.

        90.     As a result of Knox’s false accusations Jane Doe was charged with

Assault in the Third Degree, a felony.

        91.     At no point during the entirety of their care for either of their children,

have Plaintiffs ever done anything to abuse, intentionally harm, or intentionally

subject to a risk of harm any child in their care.

        92.     Providence defamed Jane Doe. This defamation caused her

damages.

        93.     Providence defamed John Doe. This defamation caused him

damages.

        94.     As a result of Knox’s false accusations, Jane Doe suffered economic

damages and non-economic damages including loss of consortium.

        95.     As a result of Knox’s false accusations, John Doe suffered economic

damages and non-economic damages including loss of consortium.

        96.     Knox resigned from Providence on April 1, 2022.

        97.     Knox entered into an agreement with Providence to avoid adverse

credentialing action(s) by Providence.




COMPLAINT
Acker, et al. v. Providence, et al., 4:22-cv-00017-HRH
Page 10 of 16
         Case 4:22-cv-00017-SLG Document 1 Filed 07/11/22 Page 10 of 16
        98.     That agreement will be claimed to be “confidential” and neither Knox

nor AC will agree to disclose it absent court order.

        99.     As a consequence of this agreement Knox is able to freely travel the

country and continue to misdiagnose child abuse, causing similar harm to other

parents.

        100. Providence is contractually obligated to defend and indemnify the

actions of Knox involving plaintiffs while she was employed at Providence.

        101. Knox’s actions involving the Plaintiffs were all done in the course and

scope of her employment with Providence.

        102. Defendants above misconduct took place without any due process

whatsoever provided to Plaintiffs. Any apparent “process” or procedural

protections provided to Plaintiffs were intentionally tainted and thwarted by

Defendants’ deliberate acts and omissions to perpetuate the false narrative that

the child plaintiffs had been subject to abuse by the parent Plaintiffs.

        103. Defendants above misconduct took place without any due process

whatsoever provided to Plaintiffs. Any apparent “process” or procedural

protections provided to Plaintiffs were intentionally tainted and thwarted by

Defendants’ deliberate acts and omissions to perpetuate the false narrative that

John Jr. had been subject to abuse.

        104. In the time period 7/1/20-6/30/21, The State provided at least

$4,240,685.22 in grants to AC.


COMPLAINT
Acker, et al. v. Providence, et al., 4:22-cv-00017-HRH
Page 11 of 16
         Case 4:22-cv-00017-SLG Document 1 Filed 07/11/22 Page 11 of 16
        105. In addition to the grants identified above, the State provided additional

funding to AC.

        106. The State provided funds for the construction of the AC facility.

        107. The State pays for full time offices for use by State employees, namely

social workers and Troopers, at the AC facility.

        108. A non-exclusive list of the causes of action asserted by all Plaintiffs

include vicarious liability / respondeat superior / aided in agency. Negligence /

negligent hiring and supervision / negligence per se / gross negligence. Negligent

infliction of emotional distress and intentional infliction of emotional distress.

Deprivation of constitutional rights of due process/equal protection and right to

raise one's children, under color of State law. Conspiracy to deprive civil rights.

Interference with close family relationships. Recklessness or intentional

misconduct. Defamation.

        109. There are 5 overlapping Supreme Court tests to determine whether

the actions of otherwise private defendants can be the basis for 42 U.S.C. § 1983

actions. Providence’s operation of AC satisfies these tests to impose 42 U.S.C. §

1983 liability on it.

        110. Providence receives state funding for AC.

        111. More than half of the annual budget for AC is provided by the State.

        112. The State maintains an Alaska State Trooper (AST) office and an

Office of Children Services (OCS) office within AC.


COMPLAINT
Acker, et al. v. Providence, et al., 4:22-cv-00017-HRH
Page 12 of 16
         Case 4:22-cv-00017-SLG Document 1 Filed 07/11/22 Page 12 of 16
         113. The State provides significant encouragement for AC to falsely

diagnose children of abuse (close nexus test).

         114. AC has been delegated a private function (diagnosing child abuse)

that is traditionally the exclusive prerogative of the State (public function test).

         115. AC is controlled by agencies of the State, OCS/AST (symbiotic

relationship test).

         116. AC operates as a willful participant in joint activity with OCS/AST (joint

action test).

         117. The actions of AC are entwined with State policies and/or the State is

entwined in its management and control (state compulsion/pervasive entwinement

test).

         118. AC’s actions against the Plaintiffs can fairly be attributed to the State

of Alaska.

         119. Providence was under contract with the State to provide forensic

services related to CINA and criminal cases.

         120. Providence was under contract with the State to provide advice to

OCS and law enforcement.

         121. Providence was under contract with the State to assist OCS in

pursuing CINA cases by providing expert testimony in CINA cases.




COMPLAINT
Acker, et al. v. Providence, et al., 4:22-cv-00017-HRH
Page 13 of 16
          Case 4:22-cv-00017-SLG Document 1 Filed 07/11/22 Page 13 of 16
        122. Providence was under contract with the State to assist law

enforcement by providing advice and providing testimony in criminal cases

asserting child abuse.

        123. As director of forensic services, Skinner worked closely with AST and

OCS.

        124. The more child abuse cases AC diagnoses for AST and/or OCS, the

more revenue it generates.

        125. Skinner’s compensation from Providence was related to the number

of child abuse diagnoses AC generated.

        126. In the manner described more fully above, the Defendants

individually, jointly, and in conspiracy with one another, as well as under color of

law and within the scope of their employment, acted to deprive Plaintiffs of their

liberty interests in their existing and anticipated future familial relationship involving

the Plaintiffs, without due process of law and in violation of their rights secured by

the U.S. Constitution.

        127. In the manner described more fully above, the Defendants,

individually, jointly, and in conspiracy with one another, as well as under color of

law and within the scope of their employment, treated Plaintiffs less favorably,

afforded them fewer rights, privileges, and procedural protections, and acted in a

manner violative of Plaintiffs’ dignity and basic human and civil rights on account

of Plaintiffs’ status as parents.


COMPLAINT
Acker, et al. v. Providence, et al., 4:22-cv-00017-HRH
Page 14 of 16
         Case 4:22-cv-00017-SLG Document 1 Filed 07/11/22 Page 14 of 16
        128. The Defendants’ misconduct described was undertaken pursuant to

Providence’s policies and practices.

        129. The misconduct described was objectively unreasonable and was

undertaken intentionally with willful indifference to Plaintiffs’ constitutional rights.

        130. In the manner described more fully above, the Defendants,

individually, jointly, and in conspiracy with one another, as well as under color of

law and within the scope of their employment, treated Plaintiffs less favorably and

afforded them fewer rights, privileges, and procedural protections than similarly

situated individuals were treated.

        131. In the manner described more fully above, during the Constitutional

violations described above, Providence stood by without intervening to prevent the

misconduct.

        132. All of the Defendants reached an agreement amongst themselves to

deprive Plaintiffs of their constitutional rights, as described in greater detail above.

        133. The Constitutional injuries complained of herein were proximately

caused by a pattern and practice of misconduct, which occurred with the

knowledge and consent of those of the Defendants who acted in a supervisory

capacity, such as Skinner, such that Skinner personally knew about, facilitated,

approved, and condoned this pattern and practice of misconduct, or at least

recklessly caused the alleged deprivation by their actions or by their deliberately

indifferent failure to act.


COMPLAINT
Acker, et al. v. Providence, et al., 4:22-cv-00017-HRH
Page 15 of 16
         Case 4:22-cv-00017-SLG Document 1 Filed 07/11/22 Page 15 of 16
        134. Providence is required by law, contract, or other obligation to pay any

tort judgment for compensatory damages for which their employees are liable

within the scope of their employment activities.

        135. Defendants defamed plaintiff parents.

                                      RELIEF REQUESTED
        136. Trial by jury.

        137. Judgment against Defendants, awarding compensatory damages,

punitive damages, attorney’s fees and costs under 42 U.S.C. § 1988 and any other

applicable authority, and any other relief this Court deems just and appropriate.



        DATED this 8th day of July 2022.



                                                 KRAMER and ASSOCIATES
                                                 Attorney(s) for Plaintiff


                                                 By /s/ Michael C. Kramer
                                                        Michael C. Kramer
                                                        ABA #9605031




COMPLAINT
Acker, et al. v. Providence, et al., 4:22-cv-00017-HRH
Page 16 of 16
         Case 4:22-cv-00017-SLG Document 1 Filed 07/11/22 Page 16 of 16
